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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11
TRIBUNE COMPANY, et al.,’ Case No. 08-13141 (KJC)
Debtors. (Jointly Administered)

STIPULATION RESOLVING MOTION OF THE OFFICIAL
COMMITTEE OF UNSECURED CREDITORS FILED ON JUNE
10, 2009, FOR AN ORDER AUTHORIZING THE EXAMINATION
OF ROBERT R. MCCORMICK TRIBUNE FOUNDATION AND
THE CANTIGNY FOUNDATION AND THE PRODUCTION OF
DOCUMENTS PURSUANT TO BANKRUPTCY RULE 2004

IT IS HEREBY STIPULATED AND AGREED, by and between The Official
Committee of Unsecured Creditors (the "Committee") of the above-captioned debtors and
debtors-in-possession (collectively, the "Debtors"), and the Robert 'R. McCormick

Foundation (the "McCormick Foundation") and the Cantigny Foundation (" antigny,”

together with the McCormick Foundation, the "Foundations"), by and through their

| ‘Phe Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, are: Tribune Company (0355);
435 Production Company (8865); 5800 Sunset Productions Ine, (5510), Baltimore Newspaper Networks, Ino. (8258); California Community News
Corporation (5306), Candle Holdings Corporation (5626), Channel 20, Inc. (7399); Channel 39, Ine, (5256); Channel 49, Inc. (3844); Chicago Avenue
Construction Company (8634); Chicago River Production Company (5434), Chicago Tribune Company (3437); Chicago Tribune Newspapers, Inc.
(0439); Chicago Tribune Press Service, [ne. (3167); Chicagoland Microwave Licensee, Ine. (1579); Chicagoland Publishing Company (3237),
Chicagoland Television News, Inc. (1352); Courant Specialty Products, Inc. (9221), Direct Mail Associates, Inc, (61215; Distribution Systems of
America, Ino, (38113; Eagle New Media Investments, LLC (6661); Eagle Publishing Investments, LLC (6327); foresalebyowner.com corp. (0219);
ForSaleByOwner.com Referral Services, LLC (9205), Fortify Holdings Corporation (5628); Forum Publishing Group, Inc. (2940), Geld Coast
Publications, Inc. (5505); GreenCo., Inc. (7416); Heart & Crown Advertising, Ine, (9808); Homeowners Realty, Inc. (1507), Homestead Publishing Co.
(4903); Hoy, LLC (8033); Hoy Publications, LLC (2352), InsertCo, Inc. (2663); Internet Foreclosure Service, Inc. (6550); JuliusAir Company, LLC
(9479); FuliusAir Company I, LLC; KIAH Ine, (4014); KPLR, Inc. (7943), KSWB Inc. (7035); KTLA Ine. (3404), KWGN Ine. (5347) Los Angeles
Times Communications LLC (1324); Les Angeles Times International, Lid. (6079); Los Angeles Times Newspapers, Inc, (0416); Magic T Music
Publishing Company (6522); NBBF, LLC (0893); Neocomm, Ine, (7208), New Mass. Media, Inc. (9553), New River Center Maintenance Association,
Inc. (5621); Newscom Services, Inc. (4817), Newspapers Readers Agency, inc. (7335), North Michigan Production Company (5466), North Orange
Avenue Properties, Ine, (4056); Gak Brook Productions, Inc. (2598), Crlando Sentinel Communications Company (3775), Patuxent Publishing Company
(4223); Publishers Forest Products Co. of Washington (4750); Sentinel Communications News Yentures, Inc. (2027); Shepard’s Inc. (7931); Signs of
Distinction, Inc. (3603); Southern Connecticut Newspapers, Ine, (1455), Star Community Publishing Group, LLC (5612); Stemweb, Inc. (4276), Sun-
Sentinel Company (2684); The Baltimore Sun Company (6880), The Daily Press, Inc. (9368); The Hartford Courant Company (3490); The Morning Call,
Ine, (7560); The Other Company LLC (5337), Times Mirror Land and Timber Company (7088); Times Mirror Payroll Processing Company, Inc. (4227),
Times Mirror Services Company, Inc. (1326); TMLH2, Inc, (0720); TMLS I, Inc. (0719); TMS Entertainment Guides, Inc. (6325), Tower Distribution
Company (9066); Towering T Music Publishing Company (2470); Tribune Broadcast Holdings, Inc. (4438); Tribune Broadcasting Company (2569);
‘Tribune Broadcasting Holdeo, LLC (2534); Tribune Broadcasting News Network, Inc. (1088); Tribune California Properties, Inc. (1629); Tribune Direct
Marketing, Ino. (1479); Tribune Entertainment Company (6232); Tribune Entertainment Production Company (5393); Tribune Finance, LLC (2537),
Tribune Finance Service Center, Inc, (7844); Tribune License, Ino, (1035); Tribune Los Angeles, Inc. (4522), Tribune Manhattan Newspaper Holdings,
Tne. (7279); Tribune Media Net, Inc. (7847); Tribune Media Services, inc. (1080); Tribune Network Holdings Company (9936), Tribune New York
Newspaper Hofdings, LLC (7278), Tribune NM, Inc, (9939), Tribune Publishing Company (9720); Tribune Television Company (1634), Tribune
Television Haldings, inc, (1630); Tribune Television New Orleans, Inc. (4055); Tribune Television Northwest, Inc. (2975); ValuMail, Inc. (9512);
Virginia Community Shoppers, LLC (4025); Virginia Gazette Companies, LLC (9587), WATL, LLC (7384), WCWN LLC ($982); WDOCW
Broadcasting, Inc. (8300); WGN Continental Broadcasting Company (9530), WLYV1 Ino. (8074), WPIX, Inc. (0191) and WTXX Inc. (1268). The
Debtors’ corporate headquarters and the mailing address for each Debtor is 435 North Michigan Avenue, Chicago, Iltinois 60611.

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respective undersigned counsel, that the Committee’s Motion for an Order Authorizing
the Examination of the Foundations and the Production of Documents Pursuant to
Bankruptcy Rule 2004 filed by the Committee on June 10, 2009 (dkt. no, 1334), (the
“Motion”) the hearing of which is currently adjourned to August 11, 2009, is hereby

resolved on the terms set forth below.

PRODUCTION

l. The Foundations will locate and produce the documents requested
(the “Documents”) in the respective Requests for Information (the “Requests”) that were
sent to the Foundations by counsel for the Committee (copies of which were attached as
Exhibit A to the Motion), subject to the terms and conditions set forth hereinbelow.

2. The Documents will be produced by the Foundations as kept by
them in the ordinary course of their respective businesses.

3, The Documents will be produced in Chicago, Illinois, at the offices
of the Foundations’ undersigned counsel. The Foundations will use their best efforts to
complete the production of Documents called for herein August 28, 2009.

4, The Foundations’ counsel will provide the. Committee’s counsel
with an estimate of the volume of the Documents. The Committee will be able to inspect
the Documents once they are produced, and/or to order copies and/or imaging and

shipping of the Documents (or any portion thereof) at the Committee’s expense.

LIMITS ON DOCUMENTS TO BE COLLECTED FOR PRODUCTION

5. The Foundations will not at this time search for or produce
responsive e-mails, but will include in their production responsive electronic Documents

(other than e-mail) that are maintained in an electronic document management system.
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The Foundations will inquire of its directors and officers for relevant documents that may
have been stored “off-line,” “off-network,” on local PC hard drives, portable hard drives,
flash drives or CDs. The Foundations will reconfirm the “hold” that their counsel
represented the Foundations previously placed on e-mail that might be responsive to the
Requests. The Committee and the Foundations agree without prejudice to reserve for
discussion at a future time the issue of whether there should be production of e-mail, and
if so the appropriate scope and search methodologies for making such production.

6, The Foundations will produce responsive Documents that are in
their own possession, as well as non-privileged, non-work-product, responsive
Documents in the files of their lawyers. The Foundations will not produce responsive
Documents if found only in the possession of other advisors to the Foundations, but the
Foundations will identify to the Commitiee all such other advisors whose files the
Foundations have not purported to search for responsive Documents. The Committee
shall be free to request documents from such outside advisors if it so chooses, and the
Foundations shall, if requested by the Committee’s counsel, inform such outside advisors
that they do not object to the Committee’s doing so.

7, The agreements herein constitute agreements pursuant to Fed, R.
Civ, P, 29 and Bankruptcy Rule 7029 modifying procedures governing or limiting
discovery. The parties further agree that it is not clear that Local Rule 7026-3 for the
United States Bankruptcy Court for the District of Delaware applies to this matter and for
sake of clarity the parties agree that unless instructed otherwise by the Court, compliance

with Local Rule 7026-3 is suspended.

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PRIVILEGE ISSUES

8. All production of the Documents shall be without any waiver of
attorney-client or any other privilege, or of work-product protection. The Foundations
expressly reserve all rights regarding inadvertent production of privileged or work-
product material provided under Rule 502 of the Federal Rules of Evidence.

9. The Foundations will not produce a privilege log at this time, but.
will segregate and preserve all responsive Documents that are being withheld from

production on grounds of privilege or work-product protection.

EXAMINATIONS OF THE FOUNDATIONS

10. The taking of any examination(s) of the Foundations that were
sought in the Motion shall be conducted in Chicago, in the form of an examination
pursuant to Rule 30(b)(6) of the Federal Rules of Civil Procedure. Examination topics
for such examinations shall be provided in advance to the Foundations’ counsel. Should
the Foundations have any dispute with the specified topics, counsel! for the Foundations
shall consult with counsel for the Committee in an effort to resolve their differences

before seeking a protective order.

NO PREJUDICE

11. | While it is the hope and intention of the Committee and the
Foundations that this Stipulation shall be sufficient to enable them to resolve the current
document production issues so as to permit the Committee to perform the investigation
described in the Motion, this Stipulation is entered into without prejudice to the rights of
either the Committee or the Foundations to raise with the Court in the future and/or to

seek additional relief concerning issues that were the subject of or related to the Motion
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and/or this Stipulation, or to confer with one another in an attempt to resolve such issues

in the future.

Dated: August 14, 2009 LANDIS RATH & COBB LLP
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